          Case 2:08-cr-00363-WBS Document 104 Filed 10/07/10 Page 1 of 2


1    DANIEL BRODERICK, Bar # 89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    LORETTA LEIGH CANHAM
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,          )   No. Cr.S. 08-363-GEB
10                                      )
                    Plaintiff,          )
11                                      )   STIPULATION AND [PROPOSED ORDER]
          v.                            )
12                                      )
                                        )   Date: November 19, 2010
13                                      )   Time: 9:00 a.m.
     LORETTA LEIGH CANHAM and           )   Judge: Hon. Garland E. Burrell
14   DAVID ROBBIE FORKNER,              )
                                        )
15                  Defendants.         )
     _____________________________
16
17        IT IS HEREBY STIPULATED by and between the parties through their
18   respective counsel, MICHAEL M. BECKWITH, Assistant United States
19   Attorney, attorney for Plaintiff, DENNIS S. WAKS, Supervising Assistant
20   Federal Defender, attorney for defendant, LORETTA LEIGH CANHAM and JOHN
21   R. MANNING, attorney for defendant, DAVID ROBBIE FORKNER, that the
22   current Status Conference date of October 8, 2010, be vacated and reset
23   for November 19, 2010, at 9:00 a.m.
24        Defense counsel needs additional time to prepare, to review the
25   discovery, and to interview witnesses.
26        It is further stipulated and agreed to between the parties that
27   from the date of this order to November 19, 2010, time should be
28   excluded within which the trial of the above criminal prosecution must
            Case 2:08-cr-00363-WBS Document 104 Filed 10/07/10 Page 2 of 2


1    commence for purposes of the Speedy Trial Act.          All parties stipulate
2    and agree that this is an appropriate exclusion of time within the
3    meaning of Title 18, United States Code, §3161(h)(7)(B)(iv)(Local Code
4    T4).
5
6    Dated: October 5, 2010                  Respectfully submitted,
7                                            DANIEL BRODERICK
                                             Federal Defender
8
9                                             /s/ Dennis S. Waks
                                             DENNIS S. WAKS
10                                           Supervising Assistant Federal
                                             Defender
11                                           Attorney for Defendant
                                             LORETTA LEIGH CANHAM
12
     DATED:    October 5, 2010
13
14                                           /s/ Dennis S. Waks for
15                                           JOHN MANNING
                                             Attorney for Defendant
16                                           DAVID ROBBIE FORKNER
17
                                             BENJAMIN B. WAGNER
18                                           United States Attorney
19
     Dated: October 5, 2010
20                                           /S/ Dennis S. Waks for
                                             MICHAEL M. BECKWITH
21                                           Assistant U.S. Attorney
22                                         ORDER
23          IT IS SO ORDERED.
24   Dated:    October 6, 2010
25
26                                      GARLAND E. BURRELL, JR.
27                                      United States District Judge

28


                                              2
